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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII


 UNITED STATES OF AMERICA, )                  CRIMINAL ACTION NO.
                           )
          Plaintiff,       )                  1:19-CR-00015-JMS-WRP-1
                           )
 v.                        )
                           )
 RUDOLPH B. PUANA,         )
                           )
          Defendant.       )
                           )

                                      ORDER

       Defendant’s Motion to Seal is this 22nd day of September, 2021 GRANTED.

       ORDERED, the Clerk of the Court shall file Defendant’s Sealed Motion

 Number 6 and any related orders under seal with no access granted to any other party

 but defendant Rudolph P. Puana.
